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                             UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA


   DONALD J. TRUMP,

                              Plaintiff,

                  v.
                                                              Case No. 2:22-cv-14102-DMM
   HILLARY R. CLINTON, et al.,

                              Defendants.


             JOINT CONSENT MOTION TO ADJOURN STATUS CONFERENCE

          Plaintiff Donald J. Trump and Defendants Hillary Clinton; Democratic National

   Committee; HFACC, Inc.; DNC Services Corporation; Perkins Coie, LLC; Michael Sussmann;

   Marc Elias; Debbie Wasserman Schultz; Jake Sullivan; John Podesta; Robert Mook; Fusion GPS;

   Peter Fritsch; Glenn Simpson; Nellie Ohr; Igor Danchenko; Neustar, Inc.; and Rodney Joffe hereby

   move to adjourn the status conference presently scheduled for June 2, 2022. All defendants

   expressly reserve any and all defenses, including any objections to the adequacy of service and

   defenses as to jurisdiction.

          In view of the Court’s May 4, 2022, paperless order setting a June 2, 2022 status conference

   “to discuss the scheduling of the Rule 16 conference,” counsel for the identified defendants and

   counsel for plaintiff have conferred and agree that such a conference should not be scheduled until

   after the disposition of the pending motions to dismiss the complaint and after the disposition of

   any later filed motions to dismiss (if any) addressing an amended complaint (if any).

          Undersigned counsel have conferred with counsel for plaintiff and all counsel for

   defendants listed above, and obtained consent for this motion.




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   Dated: May 31, 2022

                                                 Respectfully submitted,

                                                 /s/ David Oscar Markus
                                                 David Oscar Markus

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                                   CERTIFICATE OF SERVICE

          I hereby certify that on May 31, 2022, I caused to be filed electronically the foregoing

   Stipulated Motion to Adjourn Status Conference using the CM/ECF system which will send

   notification of such filing to all counsel of record in this matter who are on the CM/ECF system.

                                                                      /s/ David Oscar Markus
                                                                      David Oscar Markus




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